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                    EXHIBIT A

                    Stipulation
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 7

BAYOU STEEL BD HOLDINGS, LLC, et al.,1                         Case No. 19-12153 (KBO)

                      Debtors.                                 (Jointly Administered)


GEORGE L. MILLER, in his capacity as                           Adv. Proc. No. 21-50240 (KBO)
Chapter 7 Trustee of BAYOU STEEL BD
HOLDINGS, L.L.C., et al.,

                      Plaintiff,

vs.

STEEL AND PIPE SUPPLY COMPANY, INC.,

                      Defendant.


                      STIPULATION GRANTING DEFENDANT
                     STEEL AND PIPE SUPPLY COMPANY, INC.
               EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD

         Steel and Pipe Supply Company, Inc. (the “Defendant”) and George L. Miller, Chapter 7

Trustee for the estate of Bayou Steel BD Holdings, LLC (the “Plaintiff”), by and through their

undersigned counsel, hereby stipulate and agree as follows:

         1.      The time by which Defendants may answer, respond, or otherwise plead to

Plaintiff’s Complaint [Adv. D.I. 1] is hereby further extended from April 14, 2021 to, through and

including, May 12, 2021.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (1984), BD Bayou Steel
Investment, LLC, a Delaware limited liability company (1222), and BD LaPlace, LLC, a Delaware limited liability
company (5783).



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         2.    Defendants reserve all substantive and procedural defenses and response as to all

matters, including but not limited to, service of process and jurisdiction.




Dated: March 29, 2021

 PACHULSKI STANG ZIEHL & JONES                     MORRIS JAMES LLP
 LLP

 By: /s/ Peter J. Keane___________                 By: /s/ Sarah M. Ennis _______________
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                                                   Counsel for Defendant Steel and Pipe Supply
 Counsel for Trustee                               Company, Inc.




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